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United States District Court
District of Massachusetts

In re: TelexFree Securities
Litigation MDL Action No.

4:14—md-2566-NMG

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MEMORANDUM & ORDER
GORTON, J.

This multi-district litigation (“MDL”) arises from the
meltdown of a sprawling, hybrid Ponzi-pyramid scheme operated by
TelexFree, LLC, TelexFree, Inc. and TelexFree Financial, Inc.
(collectively, “TelexFree”). Pending before the Court is the
motion of named plaintiff Anthony Cellucci (“plaintiff” or
“Cellucci”) for class certification (Docket No. 2155). For the

reasons that follow, the motion will be denied.

I. Background

TelexFree was a billion-dollar fraud scheme that operated
from 2012 until April, 2014. Holding itself out as a multi-
level marketing company, TelexFree generated revenue by selling
packages of Voice over Internet Protocol (“VoIP”) calling plans
to “promoters,” i.e., participants. TelexFree charged promoters

$50 for membership, and then $289 for the right to sell 10 VoIP
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plans per month for a year, or $1,375 for the right to sell 50
VoIP plans per month for a year.

TelexFree operated as a Ponzi scheme by guaranteeing
lucrative returns to promoters funded by membership fees
collected from new participants. In theory, promoters could
make money by selling VoIP plans to consumers. The plans were,
however, impossible to sell. Nevertheless, TelexFree guaranteed
promoters a return on their investments. So long as a promoter
posted TelexFree advertisements on the Internet every day,
TelexFree would “buy back” from the promoter any unsold plans
for more than three times the amount the promoter paid for them.
TelexFree paid promoters in “credits.” Once a promoter’s
credits reached a certain balance, the promoter could withdraw
the credits as cash.

The company also operated as a pyramid scheme in that it
did not accrue income from the sale of (worthless) VoIP services
but rather from the recruitment of new participants. Existing
participants were incentivized to recruit new participants in
return for credits to their accounts.

Participants tendered funds for memberships and “right-to-
sell” plans in one of two ways: either by submitting funds
directly to TelexFree through their user accounts or by paying

their recruiters in so-called “triangular transactions.”

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The First Circuit Court of Appeals (“the First Circuit”)
has explained how the triangular transactions operated:

The [most] common method used [to pay the fee] was that the
new participant paid her membership fee directly to the
participant who recruited her. TelexFree then would remove
from the recruiting participant’s account credits of equal
value to the membership fee that this recruiting
participant retained. TelexFree then considered the new
participant’s invoice satisfied and, once annually, issued
an [IRS] Form 1099 to the recruiting participant for the
value of the credits he redeemed. Existing TelexFree
participants could monetize their accumulated credits this
fast and reliable way.

In re TelexFree, LLC, 941 F.3d 576, 580 {lst Cir. 2019). The

vast majority of TelexFree’s revenue was attributable to
triangular transactions, as is typical of pyramid schemes, and
membership payments accounted for nearly all of TelexFree’s
income (as opposed to the sale of its product). Almost 90% of
those membership payments were made as a result of triangular
transactions.

In early 2013, TelexFree and its Brazilian counterpart,
Ympactus, came under investigation by authorities in Brazil and
the United States. In June, 2013, a Brazilian court found
Ympactus in violation of laws banning Ponzi schemes and issued
an injunction prohibiting the company from recruiting new
participants. TelexFree assured U.S.-based participants that,
despite the ongoing investigation, there was nothing to worry

about.
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In March, 2014, TelexFree announced that participants would
actually have to sell VoIP plans in order to be paid,
effectively rescinding the guaranteed return on investment. The
announcement triggered a “run on the bank,” with participants
submitting more $150 million worth of cash withdrawal requests
over a period of a few weeks. In April, 2014, TelexFree filed
for bankruptcy.

II. Procedural History

Immediately after TelexFree filed its bankruptcy petition,
the U.S.-based investigation materialized. Both the
Massachusetts Securities Division and U.S. Securities and
Exchange Commission filed suit and the Department of Justice
executed a series of search warrants, including at the
Marlborough, Massachusetts headquarters of TelexFree.

Individual civil actions soon followed. Beginning in May,
2014, plaintiffs filed suits in federal district courts
nationwide seeking to recover losses against dozens of
defendants, including the operators of the scheme, payment
processors and banks that provided financial services to
TelexFree. In October, 2014, the Judicial Panel on
Multidistrict Litigation allowed a motion to centralize the
actions for coordinated pretrial proceedings in another session

of this Court.
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In March, 2015, plaintiffs filed the first of five amended
consolidated complaints and the Court granted the government’s
request to stay discovery in the MDL pending parallel criminal
proceedings against several TelexFree insiders. The stay
remained in place until January, 2019.

While discovery in the MDL was stayed, the bankruptcy
proceeding continued apace. The Massachusetts Bankruptcy Court
ordered that claims were be paid out according to a “net equity”
formula, defined as

the total of the amount the participant paid to TelexFree

less the amount participants received from TelexFree,

including any amounts from triangular transactions.

In re Iatrou, No. 20-40112-DPW, 2022 WL 220323, at *2 (D. Mass.

Jan. 25, 2022). Only participants who paid more into TelexFree
than they ultimately received, i.e., “net losers,” were entitled
to file claims. In 2019, the First Circuit Court affirmed the
Bankruptcy Court’s decision and allowed the Bankruptcy Trustee
to pursue avoidance actions against “net winners.” In re

TelexFree, LLC, 941 F.3d. More than 130,000 participant-

creditors filed claims, which were subjected to a lengthy
vetting process before being approved or denied.

The stay of discovery in the MDL was lifted in 2019. In
December, 2021, the transferee judge granted, in part, the

plaintiffs’ motion to amend which resulted in the filing of the

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fifth consolidated amended complaint (“5CAC”). The SCAC
contains eight counts, including, as relevant to this hearing, a
common-law claim of tortious aiding and abetting against all
defendants. The representative of the putative class brings his
claims against three broad categories of defendants:

(1) TelexFree “insiders” who worked for TelexFree either
officially or unofficially;

(2) Professionals (lawyers and accounts) who advised
TelexFree and allegedly helped to hide funds and lie
to investigators; and

(3) Banks and payment processors who allegedly knew

TelexFree was a fraud but provided financial services
regardless.

More than a dozen defendants moved to dismiss the claims
against them. In August, 2022, the transferee judge issued
multiple orders addressing various motions, resulting in the
dismissal of claims against six defendants. The motions of
defendants Mauricio Cardenas, Bank of America, N.A., Dustin
Sparman, Vantage Payments, LLC, TD Bank, N.A., Wells Fargo
Advisors LLC and Wells Fargo Bank N.A. and ProPay, Inc. were
denied.

In December, 2023 the MDL was reassigned to this session of
the Court.

In February, 2024, the newly-assigned transferee judge
approved settlement agreements with several of the remaining

defendants. Subsequently, the Court held a case management
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conference and established a schedule for discovery, class
certification and the filing of dispositive motions.

In December, 2024, plaintiff Anthony Cellucci (“Cellucci”
or “plaintiff”), the designated representative of the putative
class, filed a motion to certify a class. He seeks to bring
claims on behalf of himself and a class of similarly situated
individuals who invested money in TelexFree and suffered net
losses as a result. cCellucci also seeks to have Attorney Robert
Bonsignore appointed as class counsel.

Defendants Wells Fargo, N.A., Wells Fargo Advisors, LLC
(collectively, “Wells Fargo”), Maurico Cardenas (“Cardenas”),
Michael Montalvo (“Montalvo”) and ProPay, Inc. (“ProPay”) oppose
the motion. The Court held a hearing on plaintiff’s motion in
February, 2025 and took the matter under advisement.

III. Plaintiff’s Motion for Class Certification

Plaintiff moves to certify a class of victims of the
TelexFree scheme pursuant to Fed. R. Civ. 23(b) (3). Plaintiff
defines the class as

all persons that made a payment to TelexFree and suffered a

[nJet loss . . . defined as placing more funds into
TelexFree than the total funds withdrawn from TelexFree.!

’ Plaintiff later sought to amend the class definition through ex-post filings
with this Court suggesting potential exclusions from the class for the Court
to “consider” (Docket No. 2216), which the Court has denied but which, for
the reasons set forth below, have no bearing on the decision herein.

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The essence of the parties’ dispute is the reliability of
the methods used by plaintiff’s expert to ascribe TelexFree user
accounts to individual participants and to calculate individual
damages. This issue is relevant to several stages in the Rule
23 analysis.

Plaintiff’s expert, Karyl Van Tassel (“Van Tassel”), relied
upon participant data stored by TelexFree in an internal system
called “SIG” to identify class members. Participants would
enter their own identifying information (e.g., name, SSN, phone
number, email address) to create user accounts with TelexFree.
Each account has its own unique identification number and login
name. SIG kept a record of invoices, deposits and withdrawals
associated with each account, thereby enabling plaintiff's
expert to identify accounts that suffered net losses and to
calculate damages.

Defendants insist that this data is entirely unreliable
because users often input false information, created multiple
accounts under different names or established “group” accounts
affiliated with multiple participants. Furthermore, SIG does
not capture the whole universe of participant transactions
because the cash payments made to recruiters as part of the
triangular transactions occurred entirely off-the-books. Those

“triangular transactions” purportedly cannot be incorporated

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into the calculation of participants’ net losses because there
is no record of them in the SIG database. Defendants argue that
these deficiencies in the data affect plaintiff’s ability both
to identify class members and to evaluate damages.

Plaintiff counters that the “fundamental problems” in the
SIG database that defendants highlight (i.e., fake data, under-
aggregation and over-aggregation) are not nearly as pervasive as
defendants suggest. Furthermore, plaintiff emphasizes that the
definition of the proposed class is limited to those suffering
proven net losses as reflected in their direct payments made in
the SIG database, i.e., triangular transactions are omitted from
the calculation entirely. Thus, plaintiff contends, the class
definition is intentionally conservative so as to omit victims
whose losses lack evidentiary support. Finally, plaintiff lays
out a process that he asserts would be administratively feasible
both as to associate user accounts with individual participants
and to the accuracy of damages calculations.

a. Standard

Class actions serve as “an exception to the usual rule that
litigation is conducted by and on behalf of the individual named

parties only." Comcast Corp. v. Behrend, 569 U.S. 27, 33 (2013)

{cleaned up). A court may certify a class only if it finds that

the proposed class satisfies all the requirements of Fed R. Civ.

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P. 23(a) (“Rule 23(a)”)} and that class-wide adjudication is
appropriate for one of the reasons set forth in Fed. R. Civ. P

23(b). Smilow v. Sw. Bell Mobile Sys., Inc., 323 F.3d 32, 38

(lst Cir. 2003). Plaintiffs have the burden of proving that the
Rule 23 prerequisites to class certification are satisfied by a

preponderance of the evidence. In re Nexium Antitrust Litig.,

777 F.3d 9, 27 (1st Cir. 2015).

A district court must conduct a “rigorous analysis” under
Rule 23 before certifying the class. Id. It may look behind the
pleadings, predict how specific issues will become relevant to
facts in dispute and conduct a merits inquiry to the extent that

the merits overlap with the Rule 23 criteria. See In re New

Motor Vehicles Canadian Exp. Antitrust Litig., 522 F.3d 6, 20

(lst Cir. 2008).
Rule 23(a) requires that a class meet the foliowing four

criteria:

1) the class is so numerous that joinder of all
members is impracticable;

2) there are questions of law or fact common to the
class;

3) the claims or defenses of the representative
parties are typical of the claims or defenses of
the class; and

4) the representative parties will fairly and
adequately protect the interests of the class.

Fed. R. Civ. P. 23(a) (1)-(4).
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Plaintiffs must also show that class certification is
appropriate under Rule 23(b). Here, plaintiff seeks to
certify the proposed classes under Rule 23(b) (3) which
requires that common questions of law or fact “predominate”
over those affecting individual class members and that a
class action be the “superior” method for fair and
efficient adjudication. The standard for demonstrating
Rule 23(b) (3) predominance is “far more demanding” than
that for the related requirement of Rule 23(a) (2)

commonality. In re New Motor Vehicles, 522 F.3d at 20.

Furthermore, plaintiff must satisfy the “implicit”
Rule 23 requirement of ascertainability.? Mantha v.

QuoteWizard.com, LLC, 2347 F.R.D. 376, 385 (D. Mass. 2024).

A class must not just be ascertainable in theory;
identifying its members must be “administratively
feasible.” Shanley v. Cadle, 277 F.R.D. 63, 67-68 (D. Mass.
2011). Plaintiff’s burden is not to identify all class

members at the cutset of the litigation, so long as the

2 The First Circuit, in common with most other circuits, treats
ascertainability as an additional requirement distinct from predominance, In
re Nexium Antitrust Litig., 777 F.3d 9, 19 (Ist Cir. 2015); see, e.g.,
Sandusky Wellness Ctr., LLC, v. Medtox Sci., Inc., 821 F.3d 992, 996 (8th Cir.
2016); Byrd v. Aaron's Inc., 784 F.3d 154, 164 (3d Cir. 2015), but the two
inquiries can sometimes overlap. Hayes v. Wal-Mart Stores, Inc., 725 F.3d
349, 359 (3d Cir. 2013); see Simer v. Rios, 661 F.2d 655, 677 (?th Cir.
1981).

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“stable and objective factors” provided in the class
definition can be used to identify class members at a later

stage. Donovan v. Philip Morris USA, Inc., 268 F.R.D. 1, 9

(D. Mass. 2010) (quoting Kent v. SunAmerica Life Ins. Co.,

190 F.R.D. 271, 278 (D. Mass. 2000)).

b. Ascertainability

Plaintiff asserts that his putative class is
ascertainable because its membership is determined by
objective criteria, specifically by whether a given
participant's

real money deposits into the TelexFree scheme exceeded that

participant’s withdrawals from the scheme, based on an

aggregation of account data in TelexFree’s SIG system.

In doing so, plaintiff explains that, because class
membership is controlled solely by the delta between a
participant’s total gains and total losses as reflected in SIG,
he does not need to present evidence of participants’ triangular
transactions.

A proposed class is deemed ascertainable if

members can be identified through stable and objective

factors without individualized litigation as to each

member.

Thrower v. Citizen Disability, LLC, No. 20-10285-GAO, 2022

Wl 3754737, at *2 (D. Mass. Aug. 30, 2022) (internal quotation

marks omitted); see Matamoros v. Starbucks Corp., 699 F.3d 129,

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139 (lst Cir. 2012). Here, the values as reflected in SIG are
stable and objective and, purportedly, require no further
examination.

Plaintiff’s narrow class definition, however, still fails
to address the fundamental problem of linking user accounts to
participants, i.e., individual plaintiffs, and, as prior
sessions of this Court have held, that is no small problem.

Judge Woodlock identified many of the same deficiencies
that defendants emphasize in his ruling with respect to the
related bankruptcy:

First, most new participants paid for their TelexFree
memberships in triangular transactions, making cash
payments to the participants who recruited them. In re
TelexFree, LLC, 941 F.3d at 584. Second, participants do
not appear to have received receipts or clear documentation
of their payments in triangular transactions. Third,
participants often possessed multiple user accounts in the
TelexFree database, sometimes under a variety of usernames.
Id. at 579 (“Many participants had multiple accounts, as
they were encouraged to do by the economic incentives of
the scheme.”). Fourth, the TelexFree user account database
did not link the user accounts belonging to a single
participant; as a consequence, a participant's full history
of TelexFree transactions could not easily be tracked
across his or her user accounts through the TelexFree
database. In re TelexFree, LLC, 2021 WL 2562646, at *2.

In re Iatrou, 2022 WL 220323, at *2. As such, even though the

net gains versus net losses of user accounts is ascertainable,

the identity of who own those accounts is not.

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Moreover, even tnough plaintiff’s definitional maneuver
seeks to preserve ascertainability by omitting the need to prove
triangular transactions, he cannot thereby evade the challenges
of the Rule 23 analysis presented by them. Specifically, as
discussed below, the assessment of damages will overwhelm the
common questions. An accurate calculation of damages of each
class member must still account for triangular transactions to
ensure that actual net winners do not benefit from the limited
data in the SIG system. In short, plaintiff’s artificial
solution to fix ascertainability simply “kicks the can down the
road” by delaying the necessity of proving triangular
transactions until the predominance analysis. That is
problematic because the First Circuit has estimated that almost
90% of new membership fees were paid to recruiters via

triangular transactions. In re TelexFree, LLC, 941 F.3d at 580.

This Court is concerned that plaintiffs have not shown

that,
prior to judgment, it will be possible to establish a
mechanism for distinguishing the injured from uninjured

class members that is administratively feasible.

777 F.3d 9, 19 (1st Cir. 2015) (cleaned up).

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c. Rule 23 (b) (3)

Plaintiff moves the Court to certify the class pursuant to
Rule 23(b) (3), and therefore, in addition to the Rule 23(a)
requirements, the court must be convinced that

questions of law or fact common to the members of the class

predominate over any questions affecting only individual

members, and that a class action is superior to other

available metheds for the fair and efficient adjudication
of the controversy.

Fed. R. Civ. P. 23(b) (3) (emphasis added).
1. Predominance
The First Circuit has explained that the purpose of the
predominance inquiry is
to test whether any dissimilarity among the claims of
class members can be dealt with in a manner that is

not inefficient or unfair.

In re Asacol Antitrust Litig., 907 F.3d 42, 51 (lst Cir. 2018).

While the “predominance” requirement is much more demanding than
the Rule 23(a) prerequisite of commonality, it does not require

complete uniformity. See Amchem Products, Inc. v. Windsor, 521

U.S. 591, 623-24 (1997). The plaintiff need only prove that
individualized questions will not "overwhelm" the common ones.

In re Nexium, 777 F.3d at 21. Thus, the "need for some

individualized determinations" will not defeat class

certification. Id.

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Plaintiff concedes that portions of the case will need to
be tried separately, damages in particular. However, he insists
that more than one key factual and legal issue in the action is

common to the class and can be said to predominate

even though other matters will have to be tried separately,

such as damages

Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 453 (2016).

Plaintiff argues that the critical question of whether a Ponzi
or pyramid scheme existed at TelexFree is a common question of
fact that predominates over individual issues, citing to the
Court several other cases involving Ponzi scheme class actions
wherein this question was deemed sufficient to satisfy
predominance.

Defendant maintains that several individualized factual and
legal issues will overwhelm common questions at every stage of
adjudication and thus preclude class certification. Those
issues are 1) choice of law, 2) time-barring, 3) reliance, and
4) damages.

The Court agrees with defendant that individualized
inquiries of both choice of law and damages will predominate at
trial. Each issue is addressed in turn.

Choice of Law and Conflict of Laws:

Plaintiff asks the Court to apply Massachusetts law to all

TelexFree participant class members because the scheme was

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largely run out of TelexFree’s headquarters in Massachusetts.
Plaintiff contends that this issue has already been decided at
earlier stages in the litigation several times over by Judge
Hillman.

Defendants counter that Judge Hillman’s rulings did not
settle this question for all class members and that choice of
law will need to be determined for plaintiffs individually given
the global scope of the class plaintiff seeks to certify. They
cite one of Judge Hillman’s rulings in a related case, Cellucci

v. Foster Garvey, No. 4:23-10304-TSH, 2023 WL 4627982 (D. Mass.

July 19, 2023), as an example where the Court applied the law of
a different state. Because the case had been transferred from
the State of Washington, the Court conducted its choice of law
analysis as if it were sitting in the transferor state. The
Court found there was no conflict between the substantive law of
Washington and Massachusetts and therefore did not reach the
question of which state had the most significant relationship to
the cause of action. The Court applied the law of Washington
State.

Plaintiff apparently misunderstands Judge Hillman’s prior
ruling and misconstrues the necessary choice of law inquiry. In
the 2022 decision cited by plaintiff, Judge Hillman concluded

that Massachusetts has the “most significant relationship” to

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the underlying tort, In re TelexFree, 626 F. Supp. 3d 253, 288

(D. Mass. 2022), but that does not resolve (or even explicate)
the choice of law inguiry. For cases centralized as MDLs under
28 U.S.C. § 1407, courts “typically apply the choice of law

rules of each of the transferor courts.” In re Fresenius

Granuflo/Naturalyte Dialysate Prods. Liab. Litig., 76 F. Supp.

3d 294, 300 (D. Mass. 2015) (quoting In re Volkswagen and Audi

Warranty Extension Litig., 692 F.3d 4, 17 (lst Cir. 2012)).

Thus, Judge Hillman’s conclusion is relevant only insofar as the
transferor courts apply the “most significant relationship”: test

for choosing which forum’s law to apply. See In re Volkswagen,

629 F.3d at 18-19.

It is necessary, therefore, to undertake a multistep
analysis to assess whether, in fact, “variations in state law
swamp any common issues and defeat predominance.” Mowbray v.

Waste Mgmt. Holdings, Inc., 189 F.R.D. 194, 199 (D. Mass. 1999)

(quoting Castano v. Am. Tobacco Co., 84 F.3d 734, 741 (Sth Cir.

1996)). Specifically, the Court is compelled 1) to identify the
states from which the centralized cases were transferred, 2) to
determine whether an actual conflict exists between the laws of
the interested jurisdictions, 3) if there is a conflict, to

apply the choice of law ruie of the transferor state and 4} to

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compare the applicable substantive laws to determine whether “a

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genuine conflict exists . . . that could defeat predominance.”

Ortiz v. Saba Univ. Sch. of Med., 348 F.R.D. 4, 12 (D. Mass.

2024).

It is not, however, the responsibility of this Court to

undertake this analysis sua sponte. Most circuit courts and
other sessions of this Court are in agreement that it is the
plaintiff who must conduct this rigorous analysis in the first

instance. See, e.g., Henderson v. Bank of New York Mellon, N.A.,

332 F. Supp. 3d 419, 428 (D. Mass. 2018) (confirming that it is
the plaintiff who “must shoulder the herculean burden of
conducting an extensive review of state law variances to
demonstrate how the multi-state class will work”) (quoting In re

Pharm. Indus. Average Wholesale Price Litig., 252 F.R.D. 83, 94

(D. Mass. 2008)); In re M3 Power Razor Sys. Marketing & Sales

Practice Litig., 2/0 F.R.D. 45, 57 (P. Mass. 2010). The

predominance requirement cannot be met “when the various laws
have not been identified and compared.” Gariety v. Grant

Thornton, LLP, 368 F.3d 356, 370 (4th Cir. 2004); see also

Grandalski v. Quest Diagnostics Inc., 767 F.3d 175, 180 (3d Cir.

2014); S. States Police Benevolent Ass'n v. First Choice Armor &

Equip., Inc., 241 F.R.D. 85, 90 (D. Mass, 2007) {discussing

plaintiffs’ burden of demonstrating that variations in state law

do net defeat predominance).

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Plaintiff has entirely failed to satisfy his burden here.

Cases that make up this MDL were initially transferred to a
different session of this Court in October, 2014, pursuant to
§1407. The six actions then centralized were pending in three
districts in Florida, Georgia and Massachusetts (Docket No. 1).
Between February, 2017, and February, 2023, several more actions
were transferred into the MDL from New York, Arizona, Florida
and Washington (Docket Nos. 89, 97, 102, 1425, 1530). The MDL
thus centralizes more than a dozen cases from districts in at
least six states.

Plaintiff did not identify any one of those states as the
potential source of applicable law nor did he compare their
substantive laws to determine whether a choice of law analysis
was required. The Court declines to perform tasks which the law
dictates are the responsibility of the movant.

Damages:

Plaintiff does not disagree that damages will need to be
determined on an individualized basis. The issue is whether
such questions will overwhelm the common factual and legal
questions already identified by plaintiff and discussed supra.

The First Circuit has held that

[t]he individuation of damages in consumer class actions is

rarely determinative under Rule 23(b) (3) [especially when]
common questions predominate regarding liability

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Smilow, 323 F.3d at 40.

Plaintiff seeks to reassure the Court that calculating
damages will not predominate over common questions because there
is an “administratively feasible” way to calculate damages. The
Court is skeptical.

Plaintiff's claims administration expert, Eric Schachter
(“Schachter”), propeses that eligible class members must either
submit a “claim form” or have previously submitted an eligible
claim that was paid in the parallel bankruptcy matter. All
known class members are to be sent a summary of their known
transactions and given an opportunity to submit claims if they
choose to receive payments different than what is reflected in
the SIG records. Participants submitting claims are to be
required to provide supporting documentation. For class members
who previously submitted eligible claims that were paid in the
bankruptcy matter, no further action will be needed.

Plaintiff’s proposal for determining participants’ damages
is unworkable.

For example: An early participant in the scheme
(“Participant 1”) pays TelexFree directly for his initial
membership at a cost of $50, plus the right to sell 10 VoIP

plans per month for $289. Participant 1’s SIG account would

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therefore reflect a net loss of $339. Then Participant 1, over
time, recruits 100 new participants, all of whom pay Participant
1 their $50 membership fees in off-the-books “triangular
transactions.” Participant 1 has now accrued $5,000, for a net
gain of $4,661. She will still appear in the SIG database to be
a “net loser” as defined by the proposed class, despite
suffering no injury.

Now, as per plaintiff's proposed mechanism for calculating
damages, the claims administrator contacts Participant 1 and
tells her that she has been identified as a “net loser” in the
amount of $339, prompting her to submit a claim with supporting
documentation if she believes the damages calculation is
incorrect. Participant 1 has no incentive to admit willingly to
the Court that she actually profited from the scheme and should
be excluded from any payout.

Under this illustration, Schachter’s proposed method does
not identify and eliminate net winners from the putative class.

Plaintiff responds that there are not a significant number
of net winners in the proposed class because the nature of a
pyramid scheme is that only a few participants at the very top
of the organizational structure actually made a profit.

Moreover, he insists, the bankruptcy matter already identified

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net winners in the adversary proceedings brought by the Trustee
against two classes comprised of nearly 100,000 net winners.

Both arguments are unavailing.

First, the mere fact that TelexFree was a pyramid scheme is
not proof that the putative class contains a de minimis number
of uninjured members. Not one of the cases cited by plaintiff
indicates that the nature of the scheme itself justifies class
certification on the assumption that most class members were
injured. Rather, in each case, there was reliable data on which
the Court could base its damages calculations for each class

member. See Camenisch v. Umpqua Bank, No. 20-05905, 2022 WL

17740285, at *8-9 (N.D. Cal. Dec. 16, 2022) (rejecting
defendant’s challenge to the method for calculating damages
because it was based on the defendants’ own data); Audet v.
Fraser, 332 F.R.D. 53, 72 (D. Conn. 2019) (declining to assess
the reliability of defendant’s databases at class certification
because the parties stipulated that there were “other reasonably
uniform records” that could be used to adjudicate claims);

Takiguchi v. MRI Int'l, Inc., No. 2:13-cv-01183-HDM-VCF, 2016 WL

1091090, at *2 (D. Nev. Mar. 21, 2016) (certifying a class for
an investment Ponzi scheme wherein investors signed and returned
agreements and then transferred payments to a specific Wells

Fargo account).

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Second, identifying and eliminating net winners from the
class does not resolve the damages inquiry. Theoretically, the
ability of the claims administrator to build off of the work
already completed by the Bankruptcy Trustee would reduce the
burden on participants tc prove their damages. He identified
net winners and losers and vetted the amount of each claim
sought by creditor-victims. Unlike plaintiff, however, the
Bankruptcy Trustee identified net winners and losers through a
“net equity” formula which incorporated triangular transactions.
The Bankruptcy Court then engaged in the painstaking process of
validating the amount of the claims filed by creditors, i.e.,
the net loser participants.

That still leaves a substantial amount cf work unfinished.
Approximately 132,000 claims have been submitted to the
bankruptcy court.? Yet even after separating net winners from
net losers, tens of thousands of net losers’ claims were
disallowed after a lengthy claims confirmation process that
included evidentiary hearings for participants who chose to
challenge the claim amount calculated by the court.

As such, the claims administrator would essentially be

required to conduct the same lengthy analysis of claims of class

3 As per the website where participants can submit proof of their claims, at
http: //registry.telexfreeclaims.com.

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members (potentially in the hundreds of thousands) who did not
submit claims in the bankruptcy matter.

Even though the First Circuit has, on occasion, approved
the use of claims adjudication processes similar to that
proposed by plaintiff, those cases do not control.

Plaintiff relies heavily on the case In re Nexium, 777

F.3d, in which the First Circuit accepted a proposed method of
ascertaining injuries of potential class members that required
individuals to submit affidavits affirming their economic
injuries. In that case, however, unrebutted testimony from a
class member in the form of an affidavit or declaration was
acceptable because that evidence would have been sufficient to
establish injury had the class member brought an individual
suit. Id. at 21.

That is not the case here. Class members are alleging that
they were defrauded into paying money to TelexFree, either
directly or via triangular transactions to recruiters. “{A]s a
general matter, a plaintiff seeking money damages must prove

actual harm.” Bern Unlimited, Inc. v. Burton Corp., 95 F. Supp.

3d 184, 217 (D. Mass. 2015) (cleaned up). Class members must be
able to prove their damages without violating Seventh Amendment

and due process rights of defendants, i.e., defendants must be

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able to challenge the testimony of each participant and rebut

the claimed loss amount. See In re Nexium, 777 F.3d at 19-20.

Instead, this case more closely parallels In re Asacol

Antitrust Litigation, 907 F.3d 42, 51-58 (lst Cir. 2018),

wherein the First Circuit rejected class certification because
of the difficulties in distinguishing between uninjured and
injured class members. There, plaintiffs proposed a mechanism to
omit uninjured class members by prompting all potential class
members to submit claims along with any supporting documentation
and providing them with an opportunity to contest the court’s
calculation of their net wins and losses:

[T]his was not a case in which a very small absolute number
of class members might be picked off in a manageable,
individualized process at or before trial. Rather, this is
a case in which any class member may be uninjured, and
there are apparently thousands who in fact suffered no
injury. The need to identify those individuals will
predominate and render an adjudication unmanageable absent
evidence such as the unrebutted affidavits assumed in
Nexium, or some other mechanism that can manageably remove
uninjured persons from the class in a manner that protects
the parties’ rights.

Id. at 53-54. The similarity here is especially striking
because, just as in Asacol, there are potentially thousands of
class members who suffered no injury.

In sum:

1) Plaintiff cannot evade the issue of triangular transactions

simply by defining the class to exclude those who engaged

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in them; that may resolve ascertainability but not
predominance.

2) Inquiries with respect to individual damages will
predominate over common questions because they must
incorporate triangular transactions:

a. more than 90% of the transactions did not occur
through the SIG system but rather via triangular
transactions for which, as plaintiff admits, there are
few, if any, records;

b. the process of culling net winners from the class will
not necessarily identify them because it is
unrealistic to assume net winners will self-report
their gains and thereby forfeit their (miscalculated)
damages;

c. damages must be calculated for all 500,000 class
members, not just those identified as net winners; and

d. working off of the calculations already made by the
Bankruptcy Court does not reduce the administrative
burden here because

i. only approximately 130,000 of what plaintiff's
expert estimates to be more than 500,000 injured

class members have submitted claims thus far; and

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ii. tens of thousands of those claims were disallowed
after a lengthy claims adjudication process, and
the method of confirming claim amounts by
plaintiff's other expert is only a less precise
version of the process used by the Bankruptcy

Court.

ORDER

For the reasons set forth above, plaintiff’s motion to
certify a class (Docket No. 2155) is DENIED.

So ordered.

O CMe NGI

Nathaniel M. Gor¥on

United States District Judge

Dated: April 9 , 2025

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